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Abby Moscatel

From:                    Mersino, Paul M. <mersino@butzel.com>
Sent:                    Thursday, October 27, 2022 8:24 AM
To:                      Mark Cousens; Abby Moscatel; Brad J. Brown; 'Stephen Klein'; Nate McConnell
Subject:                 Recently filed Motion in District of Montana


Mark:

We are in receipt of your filed Motion for Contempt. While it is not directed at my client, we do have an interest in the
orderly, timely, professional manner in which the deposition in question is scheduled and held and in avoiding needless
costs whenever possible. The non‐party deponent filing a response, Project Veritas potentially filing a response, AFT
Michigan filing a reply, and the parties potentially having to appear for a hearing (which we would have no choice but to
attend) sounds like an awful waste of everyone's time and resources, to say nothing of the judicial resources that would
be affected.

As we all know, there are multiple pending Motions to Quash the subpoena in question. How the Court rules on that
motion may have an impact on what documents must be brought, what questions may be asked, and a plethora of other
questions pertaining to the how, when, where, and what of a potential deposition. It would seem to make sense to
permit the Court to rule on those motions prior to the deposition. This is no different than the fact that we subpoenaed
Randi Weingarten a number of years ago for her deposition, but all counsel involved with scheduling that have agreed
not to hold that deposition until the E.D. Michigan has ruled on the pending motions regarding the scope of
same. While we may agree to disagree as to the need for that, it does sound as though we all want to avoid the
continuous rescheduling of the deposition and having to continue to make new plans and arrangements.

I also understand that you have incurred certain costs for cancelation fees for conference rooms in Montana that you'd
previously booked. I, too, have continued to have to reschedule things and deal with cancellation issues. And
rescheduling the deposition again without having a final ruling from the Montana District Court could lead to a similar
situation. I would like to propose a solution that may work for and help all of us.

I am willing to have your out‐of‐pocket costs of $975 that you allege in your Motion for Contempt that you incurred
covered and paid for you, in exchange for you withdrawing your Motion for Contempt and agreeing that we will adjourn
the scheduling of the deposition in question in Montana until after the pending Motions to Quash and issues therein are
ruled upon (whether that be by the District of Montana court, the Eastern District of Michigan (as you have requested
that the question be sent back there), or by any other court who ultimately decides that issue). This will save the parties
the time, resources, annoyance, and distraction of serially dealing with the issue of scheduling and will make you whole
for the out‐of‐pocket costs you state you’ve incurred. I am also certain that the Courts will be most pleased with us
handling this issue ourselves and not bothering the Federal Judge over this few hundred dollar issue.

Such agreement would be on a confidential basis (we would simply inform the Court that you are withdrawing your
motion) and would be with the understanding and agreement that all parties and non‐parties reserve all other rights,
objections, claims, arguments, positions, etc.

Please advise if this is acceptable to you.

Paul

Paul Mersino
Director / Shareholder
mersino@butzel.com


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